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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK
________________________________________

JUAN URIAS MEDINA,

                              Petitioner,                            07-CV-1346
                                                                     [02-CR-291]
               v.


UNITED STATES OF AMERICA.

                        Respondent.
_________________________________________

THOMAS J. McAVOY,
Senior United States District Judge



                                      DECISION & ORDER

I. INTRODUCTION

       Juan Urias Medina (“Petitioner”) filed the instant motion pursuant to 28 U.S.C. § 2255

challenging his criminal conviction and sentence. The government opposes this motion. For the

reasons that follow, the motion is denied and his petition is dismissed.

II. BACKGROUND

       On October 2, 2003, Petitioner, Juan Urias Medina, was convicted of Conspiracy to Possess

and Distribute Marijuana, in violation of Title 21 U. S. C. §§ 841 (a)(1), 846. On June 14, 2004, he

was sentenced to 135 months imprisonment and five (5) years supervised release. Petitioner then

appealed his conviction to the Second Circuit Court of Appeals, which, in a decision entered on

September 19, 2005, affirmed the conviction and remanded the matter pursuant to United States v.



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Crosby, 397 F. 3d 103 (2d Cir. 2005). See United States v. Medina, 149 Fed. Appx. 32,

2005 WL 2277628 (2d Cir. Sept. 19, 2005). This Court considered Petitioner’s re-sentencing

arguments and, on December 29, 2005, determined that the original 135-month sentence remained

appropriate. See 12/29/05 Dec. & Ord., dkt. # 650. On September 22, 2006, the Second Circuit

affirmed the Court’s re-sentencing decision. See Mandate, dkt. # 708.

       Petitioner has now filed a motion pro se pursuant to 28 U.S.C. § 2255 seeking to vacate, set

aside, or correct his sentence. He alleges that: (1) both his trial counsel and appellate counsel were

constitutionally ineffective because they failed to raise a “buyer-seller” defense to the conspiracy

charge; (2) his trial counsel was constitutionally ineffective because he failed to inform Petitioner

that Petitioner could have entered a plea to the indictment and received a three-level reduction for

acceptance of responsibility; and that (3) Amendment 709, a November 2007 amendment to the

Sentencing Guidelines, should lower his criminal history category from II to I and reduce his

sentence accordingly. The government has opposed the motion and Petitioner filed a reply.

III. DISCUSSION

       a. Ineffective Assistance Claims

       To prevail on a Sixth Amendment claim for ineffective assistance of counsel, a petitioner

bears the heavy burden of proving, by preponderance of the evidence, that (1) counsel’s conduct

“‘fell below an objective standard of reasonableness,’” and that (2) this incompetence caused

prejudice to the petitioner. United States v. Cohen, 427 F.3d 164, 167 (2d Cir. 2005)(quoting

Strickland v. Washington, 466 U.S. 668, 688 (1984)). This standard applies equally to the conduct

of appellate counsel. Frederick v. Warden, 308 F.3d 192, 197 (2d Cir. 2002). In determining

whether counsel was constitutionally ineffective, “[a] court can jump [directly] to the prejudice


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prong without first determining whether counsel’s performance was deficient.” United States v.

Burch, 166 F. Supp. 2d 1319, 1322 (D. Kan. 2001); see also Goodrich v. Smith, 643 F. Supp. 579,

582 (N.D.N.Y. 1986). As explained in Strickland, and as followed by this Court:

       [A] court need not determine whether counsel's performance was deficient before
       examing [sic] the prejudice suffered by the defendant as a result of the alleged
       deficiencies. The object of an ineffectiveness claim is not to grade counsel's
       performance. If it is easier to dispose of an ineffectiveness claim on the ground of lack
       of sufficient prejudice, which we expect will often be so, that course should be
       followed. Courts should strive to ensure that ineffectiveness claims not become so
       burdensome to defense counsel that the entire criminal justice system suffers as a
       result.

Goodrich, 643 F. Supp. at 582 (alteration in original) (quoting Strickland, 466 U.S. at 697). Further,

a court can often make this determination on the record before it, as supplemented by affidavits of

counsel and submissions by the petitioner, and need not hold an evidentiary hearing in each case. Crisci

v. United States, 2004 WL 1932638, at *27 (2d Cir. Aug. 31, 2004) (rejecting ineffective assistance

of counsel claim without conducting hearing based on affidavits from petitioner and his counsel); see

also Chang v. United States, 250 F.3d 79, 82, 84–85 (2d Cir. 2001) (finding no abuse of discretion

where district court denied, without a hearing, § 2255 motion alleging ineffective assistance of counsel

following submissions of petitioner and his counsel that demonstrated petitioner was not entitled to

relief).

           To satisfy the prejudice prong of Strickland, a petitioner “must show that there is a reasonable

probability that, but for counsel’s unprofessional errors, the result of the proceeding would have been

different.” Strickland, 466 U.S. at 694. “A reasonable probability is a probability sufficient to

undermine confidence in the outcome.” Id. at 694. This probability must be shown with at least “some

objective evidence other than defendant's self-serving assertions. . . ,” Crisci, 2004 WL 1932638, at



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*27; see also Pham v. United States, 317 F.3d 178, 182 (2d Cir. 2003) (requiring additional objective

evidence), since “in most circumstances a convicted felon's self-serving testimony is not likely to be

credible.” Purdy v. Zeldes, 337 F.3d 253, 259 (2d Cir. 2003). Accordingly, a petitioner’s “bare,

unsubstantiated, [and] self-serving . . . statement[s]” are generally insufficient by themselves to sustain

an ineffective assistance of counsel claim unless they are found credible given all the relevant

circumstances. Slevin v. United States, 71 F. Supp. 2d 348, 357, 357 n.7 (S.D.N.Y. 1999); see also

Purdy, 337 F.3d at 259 (noting that although a petitioner’s statements ought not be rejected solely

because they are unsubstantiated, they will be insufficient unless found credible given all relevant

circumstances).

                1. Failure to Raise “Buyer-Seller” Defense

        Petitioner first argues that both his trial counsel, Joseph McCoy, Esq., and his appellate

counsel, Bruce R. Bryan, Esq., were constitutionally ineffective because they failed to raise a

“buyer-seller” defense to the conspiracy charge. A petitioner cannot prevail on an ineffective

assistance claim based on the failure to raise a defense, however, if that defense was “meritless” or

would have “stood little chance of success.” Shire v. Costello, 2008 WL 2323379, at *12

(N.D.N.Y. June 2, 2008); see United States v. Arena, 180 F.3d 380, 396 (2d Cir. 1999) (“Failure to

make a meritless argument does not amount to ineffective assistance.”), cert. denied, 531 U.S. 811

(2000); Hall v. Phillips, 2007 WL 2156656, at *13 (E.D.N.Y. July 25, 2007) (“The law in this

circuit is clear that when the underlying claims themselves are found to be meritless, the ineffective

assistance claim is meritless as well.”). Therefore, if the buyer-seller defense would have been

meritless under the circumstances of this case, Petitioner’s claim that his counsel was ineffective

for not raising it cannot prevail. See Rosario-Dominguez v. United States, 353 F. Supp. 2d 500,


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513 (S.D.N.Y. 2005) (rejecting ineffective assistance claim that was based on counsel’s failure to

raise meritless “buyer-seller” defense).

         As set forth by the Second Circuit, the “buyer-seller” defense essentially immunizes from

conspiracy liability buyers and sellers “in the typical buy-sell scenario, which involves a casual sale

of small quantities of drugs, [and where] there is no evidence that the parties were aware of, or

agreed to participate in, a larger conspiracy.” United States v. Medina, 944 F.2d 60, 65 (2d Cir.

1991). Accordingly, the defense does not apply “where . . . there is [evidence of] advanced

planning among the alleged co-conspirators to deal in wholesale quantities of drugs obviously not

intended for personal use.” Id. at 65–66 (“Under such circumstances, the participants in the

transaction may be presumed to know that they are part of a broader conspiracy.”).

         Here, as Petitioner himself concedes, there was “overwhelming evidence” of his active

involvement in the conspiracy to traffic large quantities of marijuana. See Pet’r Mot. 5, 6.1 As the

government put it, this evidence demonstrated that “defendant was not just a seller of marijuana,

but instead a trusted member of the conspiracy whose responsibility was to first assist and then

assume full responsibility for the transportation of large quantities of marijuana from the

Southwest to the Northern District of New York and Massachusetts.” Resp’t Mem. 5. The Second

Circuit concluded similarly in affirming Petitioner’s conviction, noting the proven existence of

“mutual dependence among the various conspirators and a common aim or purpose,” and that there

was “sufficient evidence from which it could conclude beyond a reasonable doubt that Medina's

participation in the conspiracy involved more than 1,000 kilograms of marijuana.” United States v.


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         Although Petitioner claims that a “buyer-seller” defense should have been raised because of “insufficient
evidence” of a conspiracy, he also argued in support of his second claim that counsel was ineffective for failing to
inform him of the opportunity to plea in light of “overwhelming evidence” of conspiracy. Pet’r Mot. 5, 6.

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Medina, 2005 WL 2277628, at *34 (2d Cir. Sept. 19, 2005) (“Even interpreting the testimony of

the eyewitnesses very conservatively, Medina supplied more than 1,000 kilograms.”). For

instance, one co-conspirator described Petitioner’s participation as personally delivering 100 to 300

pound loads of the drug from Arizona to New York between three and four times each year for

multiple years. Exhibit A (Driscoll Test.) 856–60, 879, 887, 918–19. Additionally, Petitioner

himself conceded at trial and in his reply in this matter that he was aware of a larger undertaking.

He stated: “There can be little doubt that petitioner understood that he was arranging a sale for [the

buyers’] own use or further network distribution.” Pet’r Reply 4 (emphasis added); see also

Medina, 2005 WL 2277628, at *33 (noting that “Medina conceded his membership in the charged

conspiracy at trial”). Accordingly, because the evidence at trial, including Petitioner’s own

concessions, clearly demonstrated that Petitioner was aware of, and actively participated in, a

large-scale drug operation, the Court finds that a “buyer-seller” defense would have been meritless

both at trial and on appeal. Therefore, because failure to raise a meritless defense does not amount

to ineffective assistance, Petitioner’s claim asserting the ineffectiveness of both his trial and

appellate counsel is dismissed.

               2. Failure to Inform of Plea Option

       Petitioner next argues that his trial counsel, Joseph McCoy, Esq., was constitutionally

ineffective because he failed to inform him that he could have pleaded guilty to the Indictment and

received a three-level reduction for acceptance of responsibility. Because Petitioner has failed to

establish that he was prejudiced by his counsel’s alleged incompetence, the Court needs not dissect

counsel’s performance. Suffice it to say that other than self-serving statements, Petitioner offers no

evidence that Mr. McCoy failed inform him of the ability to enter a plea of guilty. Further, Mr.


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McCoy submitted a sworn statement in which he stated that "[o]n numerous occasions [he] advised

Mr. Medina of this right [to plead guilty], including after his co-defendants entered such a plea in

the middle of the trial on this case," and that he "also advised [Medina] of the possible penalties,

including the sentencing guidelines penalties, that he would face as a result of such a guilty plea,

both before and during the trial." McCoy Aff. ¶ 5. Despite being "aware of his rights," Petitioner

"instead chose to exercise his right to a jury trial, resulting in his conviction." Id. at ¶6. See also

Sinanan v. United States, 2005 WL 396384, at *4 (E.D.N.Y. Feb. 11, 2005) (relying primarily on

attorney's affidavit to conclude that that attorney was not constitutionally ineffective).

        But even crediting Petitioner’s claim and assuming that Petitioner was not informed of the

option of pleading guilty, Petitioner has failed to demonstrate with credible, objective evidence that

but for counsel’s alleged misstep there is a reasonable probability that the ultimate outcome would

have been different, i.e., that Petitioner would have actually received a three-level reduction of his

sentence for acceptance of responsibility.

        “A defendant who enters a guilty plea is not entitled to an adjustment [for acceptance of

responsibility] as a matter of right.” U.S. SENTENCING GUIDELINES MANUAL § 3E1.1 cmt. n.3

(2008) (emphasis added). Instead, and at the very least, a defendant must “clearly demonstrate

acceptance of responsibility for his offense,” by, at a minimum, “truthfully admitting the conduct

comprising the offense of conviction . . . .” Id. § 3E1.1(a), cmt. n.3. Moreover, “a determination

that a defendant has accepted responsibility will be based primarily upon pre-trial statements and

conduct,” and even if evidence of acceptance of responsibility exists, that evidence may be

“outweighed by conduct of the defendant that is inconsistent with [that] acceptance.” Id. § 3E1.1,

cmt. n.3, n.2. In addition, because the reduction seeks to provide incentive for guilty defendants to


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plead guilty before trial,“thereby permitting the government to avoid preparing for trial and

permitting the court to allocate its resources efficiently,” id. § 3E1.1(b), a defendant who forces

the government to prove his guilt is much less likely to qualify for the reduction mid-trial, and is

generally foreclosed from qualifying after conviction. U.S. Sentencing Guidelines Manual § 3E1.1

cmt. n.2.2 Therefore, unless a defendant takes at least the threshold step of convincingly admitting

to his unlawful conduct prior to conviction, there would be little possibility that he would be

afforded an acceptance of responsibility reduction.

         Here, neither the evidence presented by Petitioner, the sworn statement submitted by his

attorney, nor the other facts and circumstances surrounding Petitioner’s trial and appeals suggest a

reasonable probability that he would have adequately demonstrated responsibility for his unlawful

conduct and been entitled to a sentence reduction. Aside from now stating that he would have

taken a guilty plea if it meant a reduced sentence—a statement that alone cannot establish

prejudice, United States v. Gordon, 156 F.3d 376, 381 (2d Cir. 1998) (“A defendant’s post

conviction testimony that he would have accepted the plea is insufficient to establish

prejudice.”)—Petitioner has offered no evidence in support of his alleged entitlement to an

acceptance of responsibility reduction. See Pet’r Reply 9. Further, Petitioner’s persistent and

continuing denial of guilt flatly contradicts the conclusion that he would have actually “accepted

responsibility,” or was even likely to enter a guilty plea.

         Petitioner denied his guilt prior to and during his trial, forcing the government to prove its


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           “The adjustment is not intended to apply to a defendant who puts the government to its burden of proof at trial
by denying the essential factual elements of guilt, is convicted, and only then admits guilt and expresses remorse.” U.S.
S EN TEN CIN G G UID ELIN ES M AN UAL § 3E1.1 cmt. n.2. Only “[i]n rare situations [may] a defendant clearly demonstrate an
acceptance of responsibility for his criminal conduct even though he exercises his constitutional right to a trial. This
may occur, for example, where a defendant goes to trial to assert and preserve issues that do not relate to factual guilt
(e.g., to make a constitutional challenge to a statute or a challenge to the applicability of a statute to his conduct).” Id.

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case, even in the face of what he concedes was “overwhelming evidence” against him. See Pet’r

Mot. 6 (“Petitioner submits that his trial counsel was aware that the evidence against him was

overwhelming. . . .”); see also Pet’r Reply 8 (implying that Petitioner wanted to go to trial and

“fight it out”); McCoy Aff.¶ 6 (noting Petitioner’s desire to go to trial despite awareness of plea

option). He continued to do so after being proven guilty on that evidence, claiming on appeal that

he was not guilty of conspiracy and that the government failed to prove otherwise, see Pet’r Mot. 3,

and even now, in his motion to this Court, Petitioner continues to claim, albeit contradictorily, that

there was inadequate evidence to support his conspiracy conviction. See Pet’r Mot. 5; Pet’r Reply

3; see also supra note 1 (explaining the contradictory nature of Petitioner’s claims).

        Thus, in the absence of objective, credible evidence to show that he would have admitted

guilt and accepted responsibility at any stage of the trial, and in light of his persistent denial of guilt

throughout all stages of his trial and appeals, including in his motion to this Court, Petitioner has

failed to demonstrate that but for his counsel’s alleged errors there is a “reasonable probability”

that he would have pleaded guilty and accepted responsibility. Accordingly, because neither the

record, the offered evidence, nor Petitioner’s arguments are sufficient to undermine confidence in

the outcome of Petitioner’s trial, Petitioner’s second claim is dismissed.

        b. Sentencing Guidelines Amendment Claim

        Petitioner’s third and final claim is that his Criminal History Category should be lowered

and his 2004 sentence reduced in line with Amendment 709, a November 2007 amendment to the

Sentencing Guidelines. Although 18 U.S.C. § 3582 does authorize the modification of a sentence

“based on a sentencing range that has been subsequently reduced by the Sentencing Commission,”

18 U.S.C. § 3582(c)(2), an amendment to the guidelines is given retroactive effect only if it is


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expressly listed in Section 1B1.10(c) of those guidelines, the Section exclusively governing the

retroactivity of amendments. U.S. SENTENCING GUIDELINES MANUAL § 1B1.10(a)(1), (c) (2008).

Here, Amendment 709—the amendment that Petitioner claims should be applied to reduce his

sentence—is not listed in that section. Accordingly, it is not given retroactive effect, it is not

applicable to Petitioner’s 2004 sentence, and thus, Petitioner’s final claim must be dismissed.

       c. Certificate of Appealability

       Finally, the Court finds that Petitioner presents no viable issues upon which reasonable

jurists could debate whether: (a) the sentence was imposed in violation of the Constitution or laws

of the United States; (b) the Court was without jurisdiction to impose such sentence; (c) the

sentence was in excess of the maximum authorized by law; or (d) the sentence is otherwise subject

to collateral attack. Therefore, a Certificate of Appealability pursuant to 28 U.S.C. § 2253 is

denied. See Miller-El v. Cockrell, 537 U.S. 322, 123 S.Ct. 1029, 1039-1040 (2003); Slack v.

McDaniel, 529 U.S. 473, 484 (2000); Barefoot v. Estelle, 463 U.S. 880, 893 (1983).

IV. CONCLUSION

       For the foregoing reasons, Petitioner’s motion pursuant to 28 U.S.C. § 2255 is DENIED and

his petition is DISMISSED. A Certificate of Appealability pursuant to 28 U.S.C. § 2253 is

DENIED.

IT IS SO ORDERED.

Dated: December 1, 2008




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